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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


ENOCH D. HALL,

                     Petitioner,

v.                                                        Case No: 6:17-cv-762-Orl-37GJK

SECRETARY, DEPARTMENT OF
CORRECTIONS, and ATTORNEY
GENERAL, STATE OF FLORIDA,

                     Respondents.
                                         /

                                         ORDER

       This death penalty case is before the Court on the following matters:

       1.     Petitioner’s Motion for Nunc Pro Tunc Appointment of Counsel Pursuant

to the Criminal Justice Act (Doc. 2) is DENIED WITHOUT PREJUDICE. This case was

stayed shortly after it was filed to allow Petitioner to pursue his state post-conviction

remedies. Consequently, it is not clear whether Petitioner’s request for appointment of

counsel nunc pro tunc to March 28, 2017, is appropriate. Petitioner may file a revised

Motion for Nunc Pro Tunc Appointment of Counsel reflecting the appropriate date from

which the appointment should be and legal support for the request.

       2.     Respondents shall file a specific response to Petitioner’s petition for writ of

habeas corpus within 120 DAYS from the date of this Order. The Response shall include

a table of contents and a table of citations and shall also do the following:
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      (a)    State whether either the United States District Court Judge or the
             United States Magistrate Judge assigned to this case was involved
             in any of Petitioner's state court proceedings. Respondents have an
             ongoing duty to inform the Court of such involvement if the case
             is hereafter reassigned to another judicial officer.

      (b)    Summarize the results of any direct appellate and/or post-
             conviction relief sought by petitioner to include citation references
             and copies of all published opinions. Provide copies of appellant and
             appellee briefs from every appellate and/or post-conviction
             proceeding.

      (c)    State whether an evidentiary hearing was accorded Petitioner in the
             pre-trial, trial, and/or post-conviction stage and whether transcripts
             are available from those proceedings.

      (d)    Procure transcripts and/or narrative summaries in accordance with
             Rule 5 of the Rules Governing Section 2254 Cases in the United States
             District Courts and file them concurrently with the initial pleading,
             but in no case later than thirty (30) days after the filing of the initial
             pleading.

      (e)    State whether Petitioner has exhausted available state remedies
             under the statutes or procedural rules of the state. If Petitioner has
             not exhausted available state court remedies, provide an analysis of
             those remedies or indicate whether Respondents waive the
             exhaustion requirement. Thompson v. Wainwright, 714 F.2d 1495 (11th
             Cir. 1983).

      (f)    Provide a detailed explanation of whether the petition was filed
             within the one-year limitation period set forth in 28 U.S.C. ' 2244(d).

      3.     The Clerk is directed to send a copy of this Order, the amended petition

(Doc. 32), and any supporting documentation to the Attorney General of Florida.

      DONE and ORDERED in Orlando, Florida on September 27, 2019.




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Copies furnished to:

Counsel of Record




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